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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 MARC WATERMAN,                                      :
                                                     :   Case No. ______________
                        Plaintiff,                   :
                                                     :   JURY TRIAL DEMANDED
         v.                                          :
                                                     :   COMPLAINT FOR VIOLATION OF THE
 EXTERRAN CORP., MARK R. SOTIR,                      :   SECURITIES EXCHANGE ACT OF 1934
 ANDREW J. WAY, WILLIAM M.                           :
 GOODYEAR, JAMES C. GOUIN, JOHN P.                   :
 RYAN, CHRISTOPHER T. SEAVER,                        :
 HATEM SOLIMAN, and IEDA GOMES                       :
 YELL,                                               :
                                                     :
                        Defendants.                  :

       Plaintiff, by his attorneys, for this complaint against defendants, alleges the following upon

personal knowledge with respect to himself, and upon information and belief based upon the

investigation of counsel as to all other allegations herein:

                                      NATURE OF ACTION

       1.       On January 24, 2022, Exterran Corporation (“Exterran” or the “Company”) entered

into an agreement and plan of merger (the “Merger Agreement”) with Enerflex Ltd. (“Enerflex”)

and Enerflex US Holdings Inc. (“Merger Sub”) (the “Proposed Merger”).

       2.       On March 18, 2022, defendants filed a S-4 Registration Statement (the

“Registration Statement”) with the U.S. Securities and Exchange Commission (the “SEC”).

       3.       As alleged herein, the Registration Statement fails to disclose material information

regarding the Proposed Merger, and defendants violated Sections 14(a) and 20(a) of the Securities

Exchange Act of 1934 (the “Exchange Act”).

                                 JURISDICTION AND VENUE

       4.       This Court has jurisdiction over the claims asserted herein pursuant to Section 27
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of the Exchange Act because the claims asserted herein arise under Sections 14(a) and 20(a) of the

Exchange Act and Rule 14a-9.

       5.       This Court has jurisdiction over defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

       6.       Venue is proper under 15 U.S.C. § 78aa because the Registration Statement, which

plaintiff alleges to be materially false and misleading, was transmitted by defendants into this

District, including to plaintiff, who resides in this District. See, e.g., Wojtunik v. Kealy, 2003 WL

22006240, at *5-6 (E.D. Pa. Aug. 26, 2003).

                                          THE PARTIES

       7.       Plaintiff is and has been continuously throughout all relevant times the owner of

Exterran common stock. Plaintiff resides in this District.

       8.       Defendant Exterran is a Delaware corporation. Exterran’s common stock is traded

on the New York Stock Exchange under the ticker symbol “EXTN.”

       9.       Defendant Mark R. Sotir is Chairperson of the Board of Directors of Exterran (the

“Board”).

       10.      Defendant Andrew J. Way is President, Chief Executive Officer, and a member of

the Board.

       11.      Defendant William M. Goodyear is a member of the Board.

       12.      Defendant James C. Gouin is a member of the Board.

       13.      Defendant John P. Ryan is a member of the Board.

       14.      Defendant Christopher T. Seaver is a member of the Board.




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       15.     Defendant Hatem Soliman is a member of the Board.

       16.     Defendant Ieda Gomes Yell is a member of the Board.

       17.     Defendants identified in ¶¶ 9-16 are referred to herein as the “Individual

Defendants.”

                              SUBSTANTIVE ALLEGATIONS

       18.     Exterran is a global systems and process company offering solutions in the oil, gas,

water, and power markets. The Company is a leader in natural gas processing and treatment and

compression products and services, providing critical midstream infrastructure solutions to

customers throughout the world.

       19.     On January 24, 2022, Exterran’s Board caused the Company to enter into the

Merger Agreement.

       20.     The press release announcing the Proposed Merger provides as follows:

       Enerflex Ltd. (“Enerflex” or the “Company”) (TSX: EFX) and Exterran
       Corporation (“Exterran”) (NYSE:EXTN) today announced a business combination
       (the “Transaction”) to create a premier integrated global provider of energy
       infrastructure. The company will operate as Enerflex Ltd. and will remain
       headquartered in Calgary, Alberta, Canada. Through greater scale and efficiencies,
       the transaction will strengthen Enerflex’s ability to serve customers in key natural
       gas, water, and energy transition markets, while enhancing shareholder value
       through sustainable improvements in profitability and cash flow generation.

       The companies will combine in an all-share transaction pursuant to which Enerflex
       will acquire all of the outstanding common stock of Exterran on the basis of 1.021
       Enerflex common shares for each outstanding share of common stock of Exterran,
       resulting in approximately 124 million Enerflex common shares outstanding upon
       closing, representing an implied combined enterprise value of approximately
       US$1.5 billion. The transaction value for Exterran is approximately
       US$735 million, which represents an 18% premium to Exterran’s enterprise value
       as at January 21, 2022. The transaction value paid for Exterran implies an
       EV/2022E Adjusted EBITDA of 3.6x and Price/2022E Cash Flow of 1.9x,
       including synergies, respectively. Upon closing of the Transaction, Enerflex and
       Exterran shareholders will respectively own approximately 72.5% and 27.5% of
       the total Enerflex common shares outstanding. Enerflex will continue to trade on
       the Toronto Stock Exchange (“TSX”) and intends to apply to either the New York



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Stock Exchange (the “NYSE”) or the NASDAQ exchange (“NASDAQ”) for the
listing of Enerflex common shares to be effective upon Transaction close.

“This is an exciting day in the history of our companies. The Transaction is
immediately accretive to shareholders; enhances our presence, offerings, and scale
across our regions; and importantly, executes upon our years-long strategic goal of
increasing recurring revenues to improve the profitability and resiliency of our
platform,” said Marc Rossiter, Enerflex’s President and Chief Executive Officer.
“Enerflex and Exterran each have a long history of global expertise in the delivery
of modular energy solutions. Together, we are more efficient and better positioned
in global capital markets. The Transaction will improve our ability to partner with
an expanded set of customers to solve their growing energy infrastructure
challenges with integrity, creativity, commitment, and success.”

“We are excited about the ability to create shareholder value through this
Transaction and improving our product and service offering. The scale and
efficiencies this combination brings is the right path for Exterran and brings
significant opportunities for accelerated growth in produced water treatment and
energy transition products and services,” said Andrew Way, President and Chief
Executive Officer of Exterran.

Strategic Rationale

Creates a Premier Integrated Global Provider of Energy Infrastructure:

Highly complementary product lines, geographies, and asset bases provide
enhanced scale, efficiencies, and expanded offerings for customers.

The pro forma geographic exposure will be well-balanced with
approximately 25-35% of revenues from each of North America, the Middle
East, and Latin America.

Accelerates Growth of Gross Margin from Recurring Segments:

       Combination significantly accelerates the generation of
       predictable, recurring gross margin from energy infrastructure and
       after-market services platforms.

       Over 70% of the combined entity’s gross margin will derive from
       recurring sources, strengthening its margin profile and reducing
       cyclicality.




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Improved Operational Efficiencies:

     Expect to realize at least US$40 million of annual run-
     rate synergies within 12 to 18 months after closing through
     overhead savings and operating efficiencies.

Accretive to Shareholders:

     Expected to approximately double Adjusted EBITDA and be over
     50% accretive to cash flow per share and approximately 50%
     accretive to earnings per share (subject to purchase price
     allocation to be determined upon closing), for Enerflex
     shareholders.

     Enhanced scale with pro forma 2023E Adjusted EBITDA of
     US$360 million to 400 million, inclusive of synergies.

     Meaningful excess free cash flow beginning in 2023 that supports
     debt reduction, shareholder returns, and continued growth.

     After close, Enerflex expects to maintain its quarterly dividend of
     CAD$0.025 per common share.

 Transaction Benefits From a Long-Term, Stable Capital Structure:

     The combined entity will benefit from a capital structure that
     provides ample liquidity.

     In conjunction with the Transaction, Enerflex has entered into a
     binding agreement with the Royal Bank of Canada to provide
     Enerflex with a fully committed financing consisting of a
     US$600 million 3-year revolving credit facility and a
     US$925 million 5-year bridge loan facility. The bridge loan will
     provide financing to backstop an anticipated issuance of new debt
     securities prior to closing of the Transaction. The committed
     financing is sufficient to fully repay existing Enerflex and
     Exterran notes and revolving credit facilities and support putting
     in place a new capital structure, provide for capital expenditures
     and other ordinary course capital needs, and provide significant
     liquidity for the pro forma business.

     The new revolving credit facility will be subject to a bank-
     adjusted total net debt to EBITDA covenant of 4.5x, stepping
     down to 4.0x by the fourth quarter of 2023.




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       Enerflex targets a bank-adjusted net debt to EBITDA ratio of
       2.5x—3.0x within 12 to 18 months of closing.

       Following capital project commitments in 2022, the combined
       entity’s capital allocation in 2023 onwards will prioritize:
       (i) balance sheet strength; (ii) sustainable shareholder returns; and
       (iii) disciplined growth focused on full-cycle earnings.

 Commitment to Sustainability:

Aligns strong cultures emphasizing the health and safety of our global
workforce and corporate citizenship.


Global coverage enhances the ability to deliver sustainable natural gas, water, and
energy transition solutions, including carbon capture utilization and sequestration,
biofuels (including renewable natural gas), produced water reuse and recycling, and
electrification.

Governance and Leadership
One Exterran director will be appointed to Enerflex’s Board of Directors at closing.
Mr. Marc Rossiter will continue to serve as Enerflex’s President and Chief
Executive Officer and a member of the Board of Directors of Enerflex and will
oversee all aspects of integration. Mr. Sanjay Bishnoi will continue to serve as
Enerflex’s Chief Financial Officer. Enerflex’s Executive Management Team will
continue to serve in their current roles.

Timing and Approvals
The Transaction is expected to close in the second or third quarter of 2022, subject
to, among other things: the approval of the Transaction by Exterran stockholders;
the approval by Enerflex shareholders of the issuance of Enerflex common shares
pursuant to TSX requirements in connection with the Transaction; regulatory
approvals; and other customary closing conditions, including those of the TSX and
the NYSE or NASDAQ, as applicable.

Copies of the Transaction agreement and related materials will be filed by Enerflex
with the Canadian securities regulators and will be available for viewing under
Enerflex’s profile on www.sedar.com. Enerflex shareholders are urged to read the
information circular once available as it will contain important information
concerning the Transaction.

Support for the Transaction
The Boards of Directors of Enerflex and Exterran have each unanimously approved
the Transaction and recommend that their respective shareholders vote in favour of
the Transaction.


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       All of the funds managed by Chai Trust Company, LLC that own common stock of
       Exterran and all of Exterran’s directors and officers have entered into voting
       agreements with Enerflex pursuant to which they have agreed to vote their
       respective shares in favour of the Transaction at the meeting of Exterran
       shareholders.

       All of the directors and officers of Enerflex have entered into voting agreements
       with Exterran pursuant to which they have agreed to vote their respective Enerflex
       common shares in favour of the issuance of Enerflex common shares pursuant to
       the Transaction at the meeting of Enerflex shareholders.

       Advisors
       RBC Capital Markets is acting as exclusive financial advisor to Enerflex and has
       provided an opinion to Enerflex’s Board of Directors to the effect that the
       consideration to be paid under the Transaction is fair, from a financial point of view,
       to Enerflex and is subject to the assumptions made as well as the limitations and
       qualifications, which will be included in the written opinion of RBC Capital
       Markets.

       Norton Rose Fulbright US LLP and Norton Rose Fulbright Canada LLP
       (transaction counsel) and Davies Ward Phillips & Vineberg LLP and Cravath,
       Swaine & Moore LLP (financing counsel) are acting as Enerflex’s legal advisors.

       TD Securities and Scotia Capital acted as strategic advisors to Enerflex.

       Wells Fargo Securities, LLC is acting as exclusive financial advisor to Exterran.

       King & Spalding LLP and McCarthy Tétrault LLP are acting as Exterran’s legal
       advisor.

       21.     On March 18, 2022, defendants filed the Registration Statement, which fails to

disclose material information regarding the Proposed Merger.

                                       Financial Projections

       22.     The Registration Statement fails to disclose material information regarding

Exterran’s and Enerflex’s financial projections, specifically: the line items underlying the financial

projections.

       23.     The disclosure of projected financial information is material because it provides

stockholders with a basis to project the future financial performance of a company, and allows



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stockholders to better understand the financial analyses performed by the company’s financial

advisor in support of its fairness opinion.

                                         Financial Analyses

       24.     The Registration Statement fails to disclose material information regarding the

financial analyses conducted by Wells Fargo. When a banker’s endorsement of the fairness of a

transaction is touted to shareholders, the valuation methods used to arrive at that opinion and the

key inputs and range of ultimate values generated by those analyses must also be fairly disclosed.

       25.     Regarding Wells Fargo’s Exterran Selected Public Companies Analysis, the

Registration Statement fails to disclose the individual multiples for the companies utilized by

Wells Fargo.

       26.     Regarding Wells Fargo’s Exterran Selected Precedent Transactions Analysis, the

Registration Statement fails to disclose the individual multiples for the transactions utilized by

Wells Fargo.

       27.     Regarding Wells Fargo’s Exterran Discounted Cash Flow Analysis, the

Registration Statement fails to disclose: (i) the terminal values utilized by Wells Fargo; and (ii)

the inputs and assumptions underlying the discount rates and perpetuity growth rates utilized by

Wells Fargo.

       28.     Regarding Wells Fargo’s Enerflex Selected Public Companies Analysis, the

Registration Statement fails to disclose the individual multiples for the companies utilized by

Wells Fargo.

       29.     Regarding Wells Fargo’s Enerflex Selected Precedent Transactions Analysis, the

Registration Statement fails to disclose the individual multiples for the transactions utilized by

Wells Fargo.




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          30.   Regarding Wells Fargo’s Enerflex Discounted Cash Flow Analysis, the

Registration Statement fails to disclose: (i) the terminal values utilized by Wells Fargo; and (ii)

the inputs and assumptions underlying the discount rates and perpetuity growth rates utilized by

Wells Fargo.

                                              COUNT I

Claim Against the Individual Defendants and Exterran for Violation of Section 14(a) of the
                              Exchange Act and Rule 14a-9

          31.   Plaintiff repeats and realleges the above-referenced allegations as if fully set forth

herein.

          32.   The Individual Defendants disseminated the false and misleading Registration

Statement, which contained statements that, in violation of Section 14(a) of the Exchange Act and

Rule 14a-9, in light of the circumstances under which they were made, failed to state material facts

necessary to make the statements therein not materially false or misleading.

          33.   Exterran is liable as the issuer of these statements.

          34.   The Registration Statement was prepared, reviewed, and/or disseminated by the

Individual Defendants. By virtue of their positions within the Company, the Individual Defendants

were aware of this information and their duty to disclose this information in the Registration

Statement.

          35.   The Individual Defendants were at least negligent in filing the Registration

Statement with these materially false and misleading statements.

          36.   The omissions and false and misleading statements in the Registration Statement

are material in that a reasonable stockholder will consider them important in deciding how to vote

on the Proposed Merger.




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          37.   A reasonable investor will view a full and accurate disclosure as significantly

altering the total mix of information made available in the Registration Statement and in other

information reasonably available to stockholders.

          38.   The Registration Statement is an essential link in causing plaintiff to approve the

Proposed Merger.

          39.   Accordingly, defendants violated Section 14(a) of the Exchange Act and Rule 14a-

9.

          40.   Plaintiff is threatened with irreparable harm.

                                             COUNT II

Claim Against the Individual Defendants for Violation of Section 20(a) of the Exchange Act

          41.   Plaintiff repeats and realleges the above-referenced allegations as if fully set forth

herein.

          42.   The Individual Defendants acted as controlling persons of Exterran within the

meaning of Section 20(a) of the Exchange Act as alleged herein.

          43.   Due to their positions as officers and/or directors of Exterran and participation in

and/or awareness of the Company’s operations and/or intimate knowledge of the false statements

contained in the Registration Statement, they had the power to influence and control and did

influence and control, directly or indirectly, the decision making of the Company, including the

content and dissemination of the various statements that plaintiff contends are false and

misleading.

          44.   Each of the Individual Defendants was provided with or had unlimited access to

copies of the Registration Statement alleged by plaintiff to be misleading prior to and/or shortly

after these statements were issued and had the ability to prevent the issuance of the statements or

cause them to be corrected.


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       45.     Each of the Individual Defendants had direct and supervisory involvement in the

day-to-day operations of the Company, and, therefore, is presumed to have had the power to

control and influence the particular transactions giving rise to the violations as alleged herein, and

exercised the same.

       46.     The Registration Statement contains the unanimous recommendation of the

Individual Defendants to approve the Proposed Merger. They were thus directly involved in the

making of the Registration Statement.

       47.     Accordingly, the Individual Defendants violated Section 20(a) of the Exchange

Act.

       48.     The Individual Defendants had the ability to exercise control over and did control

a person or persons who have each violated Section 14(a) of the Exchange Act and Rule 14a-9, by

their acts and omissions as alleged herein.

       49.     These defendants are liable pursuant to Section 20(a) of the Exchange Act.

       50.     Plaintiff is threatened with irreparable harm.

                                     PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for judgment and relief against defendants as follows:

       A.      Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from consummating the Proposed Merger;

       B.      In the event defendants consummate the Proposed Merger, rescinding it and setting

it aside or awarding rescissory damages;

       C.      Directing the Individual Defendants to disseminate a Registration Statement that

does not contain any untrue statements of material fact and that states all material facts required in

it or necessary to make the statements contained therein not misleading;




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       D.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the Exchange Act,

as well as Rule 14a-9 promulgated thereunder;

       E.      Awarding plaintiff the costs of this action, including reasonable allowance for

attorneys’ and experts’ fees; and

       F.      Granting such other and further relief as this Court may deem just and proper.

                                          JURY DEMAND

       Plaintiff requests a trial by jury on all issues so triable.

 Dated: April 18, 2022                               GRABAR LAW OFFICE

                                               By:
                                                     Joshua H. Grabar (#82525)
                                                     One Liberty Place
                                                     1650 Market Street, Suite 3600
                                                     Philadelphia, PA 19103
                                                     267-507-6085
                                                     jgrabar@grabarlaw.com

                                                     Counsel for Plaintiff




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